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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
               Plaintiff,                    )
                                             )
      v.                                     )     NO. 2:20 CR 00152-PPS/APR
                                             )
 MOHAMMED S. KHAN,                           )
                                             )
               Defendant.                    )


                                         ORDER

      This matter is before me on the findings and recommendation of Magistrate

Judge Andrew P. Rodovich relating to defendant Mohammed Khan’s agreement to

enter a plea of guilty to Count 1 of the indictment pursuant to Rule 11 of the Federal

Rules of Criminal Procedure. [DE 20, 24.] Following a hearing on the record on April

22, 2021 [DE 24], Judge Rodovich found that defendant understands the charge, his

rights, and the maximum penalty; that defendant is competent to plead guilty; that

there is a factual basis for defendant’s plea; that the defendant knowingly and

voluntarily entered into his agreement to enter a plea of guilty to Count 1 of the

indictment charging him with making a false claim upon an agency of the United States,

in violation of 18 U.S.C. § 287; and that defendant's change of plea hearing could not be

delayed without serious harm to the interests of justice. Judge Rodovich recommends

that the Court accept defendant’s plea of guilty and proceed to impose sentence. The

parties have waived objection to Judge Rodovich’s findings and recommendation. [DE
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24.]

       ACCORDINGLY:

       Having reviewed the Magistrate Judge’s findings and recommendation

concerning defendant Mohammed Khan’s plea of guilty, to which objections have been

waived, the Court hereby ADOPTS the findings and recommendation [DE 24] in their

entirety.

       Defendant Mohammed Khan is adjudged GUILTY of Count 1 of the indictment.

       The sentencing hearing is SET for August 12, 2021 at 10:00 a.m.

Hammond/Central time.

ENTERED: May 5, 2021.

                                         /s/ Philip P. Simon
                                         PHILIP P. SIMON, JUDGE
                                         UNITED STATES DISTRICT COURT




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